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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

JOHN CONNELL
AND
LUCY CONNELL,

 

Plaintiffs,
v. CIVIL ACTION NO. 1-03-1012-T
WEBB REALTY, INCORPORATED;
JULE NANCE; BILLY N. WEBB, JR.;
ANNA WEBB; JAMES N. MAYS;
KAY W. MAYS; and DIANNE MOORE,
Defendants.

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ORDER

 

On the Motion of Plaintiffs John and Lucy Connell, and for good cause Shown, the time for
Plaintiffs John and Lucy Connell to tile a responsive pleading to the Motion of Defendants J ames
Mays and Kay Mays for an Award of Attorney’S FeeS is extended through October 3], 2005.

IT IS SO ORDERED.

DATED this the Qé day ofAugusr., 2005.

JAMES . ODD
UNITE TATES DISTRICT COURT JUDGE

 

APPROVED FOR ENTRY:

Thls document entered on the dockets a ncorn lia ce
with Hule 58 and,'or_?g (a) FRCP on if § 3 ‘ 6 §

Case 1:03-cv-01012-.]DT-STA Document 170 Filed 08/26/05

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the above document has been
served upon the Defendant Dianne l\/loore, by hand delivery of same to the attorney for Defendant
Dianne l\/loore, Jennifer K. Craig through Charles M. Purcell, Waldrop & Hall, 106 S. Liberty Street,
Jacl<son, Tennessee 38301; by hand delivery of same to the attorney for Defendants Webb Realty
Cornpany L.L.C., Billy N. Webb, Jr., Anna Webb, and Jule Nance, Dale Conder, 209 East:Main
Street, P.O. Box 1147, Jackson, Tennessee 3 8302~1 147; by hand delivery of same to the attorney for
Defendants James N. l\/lays and Kay W. Mays, Brandon O. Gibson, Pentecost, Glenn & Rudd,
PLLC, 106 Stonebridge Blvd, Jackson, Tennessee 38305; and by hand delivery of same to the
attorney for West Tennessee Legal Services and Carol Gish, Jonathan O. Steen, Armstrong Allen,
464 North Parkvvay, Suite A, Jackson, Tennessee 38305.

This the Day of August, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 170 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

